                          Case 18-34892 Document 1 Filed in TXSB on 08/31/18 Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Urban Oaks Builders LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1001 McKinney St., Suite 2100
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 18-34892 Document 1 Filed in TXSB on 08/31/18 Page 2 of 12
Debtor    Urban Oaks Builders LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2361

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                            Case 18-34892 Document 1 Filed in TXSB on 08/31/18 Page 3 of 12
Debtor   Urban Oaks Builders LLC                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Urban Oaks Builders LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 31, 2018
                                                  MM / DD / YYYY


                             X   /s/ Todd Hagood                                                          Todd Hagood
                                 Signature of authorized representative of debtor                         Printed name

                                         Vice President, Authorized
                                 Title   Representative




18. Signature of attorney    X   /s/ Matthew Okin                                                          Date August 31, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew Okin
                                 Printed name

                                 Okin Adams LLP
                                 Firm name

                                 1113 Vine St., Suite 201
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (713) 228-4100                Email address      info@okinadams.com

                                 00784695
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
DocuSign Envelope ID: 1C19D544-9175-4BAF-A18E-0998973DC3B1
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DocuSign Envelope ID: 1C19D544-9175-4BAF-A18E-0998973DC3B1
                      Case 18-34892 Document 1 Filed in TXSB on 08/31/18 Page 6 of 12
DocuSign Envelope ID: 1C19D544-9175-4BAF-A18E-0998973DC3B1
                      Case 18-34892 Document 1 Filed in TXSB on 08/31/18 Page 7 of 12
DocuSign Envelope ID: 1C19D544-9175-4BAF-A18E-0998973DC3B1
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 Fill in this information to identify the case:
 Debtor name Urban Oaks Builders, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cottington Road                 Michael A.                      Litigation             Unliquidated                                                                $45,000,000.00
 TIC, LLC                        Hornreich                                              Disputed
 8230 210th Street
 South                           mhornreich@wwhg
 Boca Raton, FL                  d.com
 33433                           407.734.7000
 Baker Concrete                  Kimberley Smith Sr Trade Debt                          Unliquidated                                                                  $1,321,671.46
 Construction Inc                Admin
 900 N. Garver Rd
 Monroe, OH 45050                smithki@bakershar
                                 edservices.com
                                 513.310.8111
 GH Phipps                       Brent Chacon      Trade Debt                           Unliquidated                                                                    $963,277.73
 Construction
 Companies                       brent.chacon@ghp
 5995 Greenwood                  hipps.com
 Plaza Blvd., #100               303.389.3774
 Greenwood Village,
 CO 80111
 Power Design Inc                Sam Khayat                      Trade Debt             Unliquidated                                                                    $822,902.40
 11600 Ninth Street
 North                           wkhayat@powerde
 St. Petersburg, FL              signinc.us
 33716                           727.497.1930
 Rocky Mountain                  Brian Miller    Trade Debt                             Unliquidated                                                                    $615,121.10
 Prestress LLC
 5801 Pecos Street               millerb@rmprestre
 Denver, CO 80221                ss.com
                                 720.387.1326
 RSL Contractors                 Susan Lyons                     Trade Debt             Unliquidated                                                                    $595,844.16
 22030 Mossy Oaks
 Drive                           slyons@rslcontract
 Spring, TX 77389                ors.com
                                 281.651.1133




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Urban Oaks Builders, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Momentum Exterior               John Shaddix                    Trade Debt             Disputed                                                                        $510,081.09
 Systems, Inc.
 3440 Riley Fuzzel               john.shaddix@mo
 Rd. Suite 120 #85               mentum-glass.com
 Spring, TX 77386                281.809.2830
 Steel Huggers, LLC              Nic Malwitz      Trade Debt                            Unliquidated                                                                    $339,419.70
 4472 Hilltop Rd.,
 Unit D               steelhuggers@com
 Mead, CO 80504       cast.net
                      870.535.4460
 T&D Moravits & Co., Katy Maddox          Trade Debt                                    Unliquidated                                                                    $303,471.46
 LLC
 10511 Shaenfield     kmaddox@tdmorav
 Road                 its.com
 San Antonio, TX      210.688.3482
 78251
 Jimmy Evans          Kim Carrillo        Trade Debt                                    Unliquidated                                                                    $182,681.54
 Company
 P.O. Box 9749        kcarrillo@jimmyev
 Austin, TX 78766     ans.com
                      512.288.7300
 Hofer Builders Inc.  Tom Hofer           Trade Debt                                    Unliquidated                                                                    $180,480.00
 301 N. Saginaw
 Blvd.                thofer@hoferbuilde
 Saginaw, TX 76179    rs.com
                      817.232.2166
 AGL Construction     Kate Davis          Trade Debt                                    Unliquidated                                                                    $171,690.47
 Company
 7302 Ivanhoe Street kate@algconstruct.
 Commerce City, CO com
 80022
 Schindler Elevator   Derek Paluch        Trade Debt                                    Unliquidated                                                                    $167,126.75
 Corporation
 12961 Park Central   decek-paluch@sch
 Ste 1460             indler.com
 San Antonio, TX      973.397.6500
 78216
 AYG Construction,    Asaf Golan          Trade Debt                                    Unliquidated                                                                    $152,282.49
 LTD
 7006 Burkett St.     Agolan@aygconstr
 Houston, TX 77021    uction.com
                      713.748.2202
 Fuquay, Inc.         John Trevilion      Trade Debt                                    Unliquidated                                                                    $140,760.60
 4861 Old Hwy 81
 New Braunfels, TX    jtrevilion@fuquay.c
 78132                om
                      830.606.1882
 Construction Risk    Robert Rapp         Trade Debt                                    Unliquidated                                                                    $126,628.95
 Partners LLC
 1250 Route 28, Suite rrapp@constructio
 201                  nriskpartners.com
 Branchburg, NJ       908.566.1271
 08876

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Urban Oaks Builders, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Steel Designs Inc.              Norm Macias                     Trade Debt             Unliquidated                                                                    $111,933.75
 13303 Emmett
 Houston, TX 77041               nmacias@steeldesi
                                 gnsinc.com
                                 713.937.3007
 Hines Interests                 Evan McCord       Trade Debt                                                                                                           $106,905.80
 Limited Partnership
 2800 Post Oak Blvd,             Evan.McCord@hin
 Suite 5000                      es.com
 Houston, TX 77056               713.621.8000
 Ovation Plumbing                Jeff Platt                      Trade Debt             Unliquidated                                                                      $98,914.56
 Inc
 1980 W. 64th Lane               jplatt@ovationplum
 Denver, CO 80221                bing.com
                                 303.427.6230
 Kone Inc                        Steven Buhr        Trade Debt                          Unliquidated                                                                      $73,440.00
 One Kone Court
 Moline, IL 61265                steven.buhr@kone.
                                 com
                                 281.442.6619




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Urban Oaks Builders LLC                                                                      Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Urban Oaks Builders LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 POC Holdings 2, Inc.
 2800 Post Oak Blvd., Suite 5000
 Houston, TX 77056




 None [Check if applicable]




 August 31, 2018                                                     /s/ Matthew Okin
 Date                                                                Matthew Okin
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Urban Oaks Builders LLC
                                                                     Okin Adams LLP
                                                                     1113 Vine St., Suite 201
                                                                     Houston, TX 77002
                                                                     (713) 228-4100 Fax:(888) 865-2118
                                                                     info@okinadams.com




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